      Case 4:20-cv-01551 Document 66 Filed on 07/07/20 in TXSD Page 1 of 5



                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION


BRUJO FINANCE COMPANY,

                Plaintiff,                                      Case No. 4:20-CV-01551

        v.                                                        Hon. Lynn N. Hughes

100,266.35 BARRELS OF RON95                                        (IN ADMIRALTY)
GASOLINE, in rem,

                Defendant.


  INTERESTED PARTIES’ UNOPPOSED, EMERGENCY MOTION TO APPEAR AT
 JULY 9, 2020 HEARING REMOTELY, BY TELEPHONE OR VIDEOCONFERENCE



       Sea Energy Company Inc. (“Charterer”) and ES Euroshipping AG (“Cargo Owner”)

(collectively, “Interested Parties”), having filed a Verified Statement of Interested Parties pursuant

to Supplemental Rule for Admiralty or Maritime Claims and Asset Forfeiture Actions

(“Supplemental Rule”) C(6)(a) and having entered a restricted appearance pursuant to

Supplemental Rule E(8) to defend the 100,266.35 Barrels of RON95 Gasoline (“Cargo”), which

is the named Defendant in the above-captioned action in rem (“Action”), and reserving all rights

and defenses, including Rule 12(b) defenses, hereby move for this Honorable Court to permit

Interested Parties’ counsel to appear remotely, by telephone or videoconference, at the upcoming

July 9, 2020 hearing at 2:15pm. In support of this unopposed, emergency motion, Interested

Parties state as follows:

                                 RELEVANT BACKGROUND

       1.      On June 26, 2020, Chief Judge Lee H. Rosenthal entered an Order closing the Bob

Casey U.S. Courthouse in Houston, Texas to the public until July 10, 2020 (Special Order H-2020-
      Case 4:20-cv-01551 Document 66 Filed on 07/07/20 in TXSD Page 2 of 5



19). The Order was entered “[t]o protect the health and safety of the public, staff, and judicial

officers from exposure to or spread of COVID-19.” Id.

       2.      On July 6, 2020, this Court entered an Order setting a hearing for July 9, 2020 at

2:15pm in Courtroom 11-C of the Bob Casey U.S. Courthouse (Dkt. 63).

       3.      On July 6, 2020, counsel for the parties contacted Case Manager Glenda Hassan to

seek clarification whether the Court expected counsel to appear in person at the hearing.

       4.      Ms. Hassan informed the parties that they are expected to appear in person at the

July 9, 2020, hearing.

                                           ARGUMENT

       5.      Conflicting Court Orders: The Court’s Order and expectation that the parties

appear in person at the courthouse before it is open to the public places the parties in a predicament.

If they obey this Court’s Order and appear in person, they risk violating an Order from the Chief

Judge of this Court permitting only employees or contractors to enter the courthouse until July 10,

2020. See Special Order H-2020-19.

       6.      Concern for Court Personnel: In addition, counsel for Interested Parties is

cognizant of the purpose of the Special Order “[t]o protect the health and safety of the public, staff,

and judicial officers from exposure to or spread of COVID-19.” Id. Interested Parties’ lead

counsel, Michael Volkov, who is admitted pro hac vice to appear before the Court (Dkt. 19), would

be travelling from California, which presently has the highest number of total COVID-19 cases

of all U.S. states and territories according to the Centers for Disease Control and Prevention

(“CDC”). See “United States COVID-19 Cases and Deaths by State,” https://www.cdc.gov/covid-

data-tracker/#cases (last visited on July 7, 2020). As such, it would be highly irresponsible for




                                                 -2-
      Case 4:20-cv-01551 Document 66 Filed on 07/07/20 in TXSD Page 3 of 5



Mr. Volkov to travel from California to appear in person at the hearing and potentially expose

courthouse personnel (and fellow travelers) to COVID-19.

       7.      The Volkov Law Firm does not have any attorneys located in Texas. As such, any

attorney who would appear in person at the hearing must travel from a different state, which risks

spreading the virus. The Texas Department of State Health Services encourages travelers to “heed

the advice of the CDC.” https://www.dshs.state.tx.us/coronavirus/travelers.aspx. The CDC states

that “staying home is the best way to protect yourself and others from getting sick,” and notes that

“[t]ravel    increases    your     chances      of    getting     and     spreading     COVID-19.”

https://www.cdc.gov/coronavirus/2019-ncov/travelers/travel-in-the-us.html;

https://www.cdc.gov/coronavirus/2019-ncov/travelers/faqs.html (last visited on July 7, 2020). As

such, it is equally irresponsible to have other attorneys from the Volkov Law Firm travel from out-

of-state to appear in person at the hearing and potentially expose courthouse personnel (and fellow

travelers) to COVID-19.

       8.      Concern for Self and Others: Interested Parties’ lead counsel also is concerned

for himself and his associates. Texas presently has the fourth highest number of total COVID-19

cases of all U.S. states and territories according to the CDC. See “United States COVID-19 Cases

and Deaths by State,” https://www.cdc.gov/covid-data-tracker/#cases (last visited on July 7,

2020). Mr. Volkov is an older individual who the CDC considers to be at higher risk than others

to become severely ill if infected. Interested Parties’ lead counsel is also concerned for his

employees and does not want to require them to travel to Texas in his stead and increase the risk

that they may become infected or infect others. The Volkov Law Firm is a small firm. All of the

lawyers either are older or have underlying medical conditions which place them at higher risk of

becoming severely ill and/or are subject to state travel restrictions that would require quarantine if


                                                -3-
     Case 4:20-cv-01551 Document 66 Filed on 07/07/20 in TXSD Page 4 of 5



they visit Texas (e.g. one younger attorney is located in New Jersey which has a 14-day quarantine

travel advisory for anyone traveling to or returning to New Jersey from Texas, see New Jersey

Covid-19 Information Hub, https://covid19.nj.gov/faqs/nj-information/general-public/which-

states-are-on-the-travel-advisory-list-are-there-travel-restrictions-to-or-from-new-jersey   (last

visited on July 7, 2020)).

       9.      Finally, Interested Parties are aware that Special Order H-2020-19 encourages

“remote or virtual proceedings when feasible and in the interests of justice.” Although Interested

Parties’ counsel would very much like the opportunity to appear in person before the Court, it is

certainly “feasible” to conduct the hearing remotely, which seems the most prudent course under

the present circumstances.

                                         CONCLUSION

       For the foregoing reasons and in light of the public-health crisis relating to COVID-19,

Interested Parties respectfully request that the Court grant this unopposed, emergency motion to

permit Interested Parties’ counsel to appear remotely, by telephone or videoconference, at the

upcoming July 9, 2020 hearing at 2:15pm. A proposed order is filed with this motion.

                                                     Respectfully submitted,

Dated: July 7, 2020                                  /s/    Michael Volkov     _
                                                     Michael Volkov
                                                     The Volkov Law Group LLC
                                                     2200 Pennsylvania Avenue, NW
                                                     4th Floor East
                                                     Washington, DC 20037
                                                     (240) 505-1992
                                                     mvolkov@volkovlaw.com

                                                     Counsel for Sea Energy Company
                                                     and ES Euroshipping AG




                                               -4-
     Case 4:20-cv-01551 Document 66 Filed on 07/07/20 in TXSD Page 5 of 5



                             CERTIFICATE OF CONFERENCE

       I, Michael Volkov, hereby certify that I conferred with counsel for the Plaintiff on July 7,

2020, and counsel does not oppose this Motion.


                                                     /s/   Michael Volkov            _
                                                     Michael Volkov


                                CERTIFICATE OF SERVICE

       I, Michael Volkov, hereby certify that the foregoing INTERESTED PARTIES’

UNOPPOSED, EMERGENCY MOTION TO APPEAR AT JULY 9, 2020 HEARING

REMOTELY, BY TELEPHONE OR VIDEOCONFERENCE was electronically filed with the

Clerk of Court via CM/ECF and that a true and correct copy of the foregoing was served

electronically via email upon the person listed below, this 7th day of July, 2020:


Michael Frevola
Holland & Knight LLP
31 West 52nd Street
New York, NY 10019
(212) 513-3516
michael.frevola@hklaw.com


       I further declare under penalty of perjury that the foregoing is true and correct.


Dated: July 7, 2020                                  /s/    Michael Volkov     _
                                                     Michael Volkov
                                                     The Volkov Law Group LLC
                                                     2200 Pennsylvania Avenue, NW
                                                     4th Floor East
                                                     Washington, DC 20037
                                                     (240) 505-1992
                                                     mvolkov@volkovlaw.com

                                                     Counsel for Sea Energy Company
                                                     and ES Euroshipping AG
